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 4
      Attorney for YAO MING YU
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 8
                                  UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                           FRESNO DIVISION
11
12     UNITED STATES OF AMERICA,                          )   No. 1:11 CR 00113 - AWI - 6
                                                          )
13                        Plaintiff,                      )
                                                          )   STIPULATED REQUEST TO
14                              V.                        )   RESCHEDULE SENTENCING
                                                          )   FROM MARCH 13, 2017 TO JUNE
15     YAO MING YU,.                                      )   12, 2017 AT 1:30 P.M. AND
                                                          )   PROPOSED ORDER
16                       Defendant.                       )
                                                          )
17                                                        )
18           COMES NOW DEFENDANT YAO MING YU, by and through his attorney HARRIS B.
19    TABACK, who respectfully requests that the current Sentencing Hearing scheduled on March 13,
20    2017 be rescheduled to June 12, 2017 at 1:30 p.m.
21           The purpose of this request is to permit YU, his Counsel and the United States Probation
22    Officer the appropriate time necessary to complete the Pre-Sentence Investigation. Counsel and
23    United States Probation Office Adam Tunison believe the requested additional time is required to
24    prepare this case for sentencing. The Assistant United States Attorney, Laurel J. Montoya has
25    informed both Counsel and Probation Officer Tunison that the government has no objection.
26           For the above described reason, YU respectfully requests that the Sentencing date be

27    rescheduled.

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      Dated: January 18, 2017                          Respectfully submitted,
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                                                       LAW OFFICES OF HARRIS B. TABACK
 2
 3
 4
                                                By:           ss Harris B. Taback
 5                                                    HARRIS B. TABACK
                                                      ATTORNEY FOR YAO MING YU
 6
 7
                                                 ORDER
 8
               GOOD CAUSE APPEARING IT IS HEREBY ORDERED THAT the current
 9
      Sentencing Hearing date of March 13, 2017 is rescheduled to June 12, 2017 at 1:30 P.M.
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11
      IT IS SO ORDERED.
12
13    Dated:    January 20, 2017
                                                    SENIOR DISTRICT JUDGE
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